JS 44 (Rev. 10/20)                                  CIVILDocument
                                   Case 2:21-cv-00354-TR  COVER1SHEET
                                                                  Filed 01/27/21 Page 1 of 11
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       JENNIFER COLLINS AND DANIEL COLLINS                                                               State Farm Mutual Automobile Insurance Company

   (b) County of Residence of First Listed Plaintiff             Philadelphia County                     County of Residence of First Listed Defendant                McLean, IL
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
       Christy Adams, Esq., Adams Renzi Law, 1429 Walnut                                              Katherine Cole Douglas, Esq., Bennett, Bricklin & Saltzburg
       Street, 14th Floor, Philadelphia, PA 19102; 215-546-4208                                       LLC, Centre Square, West Tower, 1500 Market St., 32nd Fl.,
                                                                                                      Philadelphia, PA 19102 (215) 665-3364
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                     and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF          DEF                                        PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1X           1     Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State              2         2   Incorporated and Principal Place           5   X5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                Citizen or Subject of a               3         3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                         BANKRUPTCY                      OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure               422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881             423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                  28 USC 157                       3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                  410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                  820 Copyrights                  430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                                830 Patent                      450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated        460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                       New Drug Application        470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                        840 Trademark                       Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                          880 Defend Trade Secrets        480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                    Act of 2016                     (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                 485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                   SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                          861 HIA (1395ff)                 490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                  862 Black Lung (923)             850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical                 863 DIWC/DIWW (405(g))               Exchange
                                          Medical Malpractice                                          Leave Act                          864 SSID Title XVI               890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation             865 RSI (405(g))                 891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                 893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act                FEDERAL TAX SUITS                895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff            Act
  240 Torts to Land                   443 Housing/                        Sentence                                                             or Defendant)               896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                         871 IRS—Third Party              899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                             26 USC 7609                     Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                              Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                   950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                 State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                      8 Multidistrict
    Proceeding             State Court                             Appellate Court              Reopened                    Another District          Litigation -                       Litigation -
                                                                                                                            (specify)                 Transfer                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. Secs. 1332, 1441 and 1446
VI. CAUSE OF ACTION Brief description of cause:
                                       Claims for uninsured motorist benefits and bad faith damages
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                       JURY
                                                                                                   $395,000 each Plainitff, plus unliquidated      DEMAND:
                                                                                                                                              punitive damages                  Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                                 DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
01/27/2021                                                               /s/ Katherine Cole Douglas
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                             MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 2 of 11
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                              Case 2:21-cv-00354-TR
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   01/27/21 Page 3 of 11
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                      2721 Berkshire Street, Philadelphia, PA 19137
Address of Plaintiff: ______________________________________________________________________________________________
                                       1 State Farm Plaza, Bloomington, IL 61710
Address of Defendant: ____________________________________________________________________________________________
                                                3000 block of Aramingo Avenue, Philadelphia, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           01/27/2021
DATE: __________________________________                      /s/ Katherine Cole Douglas
                                                             __________________________________________                                         58913
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                  
                                                                                            ✔    1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                                                                                             APPENDIX I
                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                     CASE MANAGEMENT TRACK DESIGNATION FORM



 JENNIFER COLLINS AND DANIEL
 COLLINS                                            NO.

     v.

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY


 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of filing
 the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side
 of this form.) In the event that a defendant does not agree with the plaintiff regarding said designation,
 that defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff and
 all other parties, a case management track designation form specifying the track to which that defendant
 believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus – Cases brought under 28 U.S.C. §2241 through §2255.                                  ( )

 (b) Social Security – Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits                                       ( )

 ( c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.         ( )

 (d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                                ( )

 (e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                                   ( )

 (f) Standard Management – Cases that do not fall into any one of the other tracks.                      (X)



1/27/21                 /s/ Katherine Cole Douglas          Attorney for Defendant ___________
Date                   Katherine Cole Douglas, Esq.         State Farm Mutual Automobile Ins. Co.

(215) 561-4300                 (215) 561-6661                  douglas@bbs-law.com
Telephone                      FAX Number                      E-Mail Address
               Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 5 of 11




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JENNIFER COLLINS AND
 DANIEL COLLINS
 2721 Berkshire Street                             NO.
 Philadelphia, PA 19137

     v.

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY
 1 State Farm Drive
 Concordville, PA 19339


                                     NOTICE OF REMOVAL

          AND NOW comes the defendant, State Farm Mutual Automobile Insurance Company

("State Farm"), for the purpose only of removing this case to the United States District Court for

the Eastern District of Pennsylvania, and respectfully avers as follows:

          1.      Plaintiffs Jennifer Collins and Daniel Collins initiated this action by filing a

Complaint on November 23, 2020 in the Court of Common Pleas of Philadelphia County,

Pennsylvania at November Term, 2020 No. 002001 (E-Filing No. 2011037791). A copy of the

Complaint is attached hereto as Exhibit 1.

          2.      On or about December 1, 2020, plaintiffs filed a motion to amend their Complaint

as they determined that there were errors which needed to be corrected in the original complaint

before service of the complaint upon State Farm. See, Exhibit 2, motion to amend.

          3.      On December 28, 2020, this Court entered an Order permitting plaintiffs to file

their Amended Complaint within thirty (30) days. See, Exhibit 3, Order.

          4.      On December 29, 2020, plaintiffs filed their Amended Complaint. See, Exhibit 4.
            Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 6 of 11




       5.      On December 29, 2020, counsel for State Farm accepted service of the amended

complaint. See, Exhibit 5, Acceptance of Service.

       6.      Defendant has been served with no process, pleadings or filings in this matter

except as mentioned above.

       7.      This Notice of Removal is timely under 28 U.S.C. §1446(b) as it is being filed

within thirty (30) days of service of the Amended Complaint.

       8.      State Farm Mutual Automobile Insurance Company is now, and was at the time

plaintiffs commenced this civil action, a mutual insurance company organized under the laws of

the state of Illinois with its principal place of business located at One State Farm Plaza,

Bloomington, McLean County, Illinois 61710 and therefore, is a citizen and resident of Illinois for

purposes of determining diversity under 28 U.S.C. §1332(c)(1).

       9.      Plaintiffs Jennifer and Daniel Collins were at the time of filing of this suit and are

now, citizens and residents of the Commonwealth of Pennsylvania.

       10.     Plaintiff Jennifer Collins seeks uninsured motorist benefits as compensation for

injuries allegedly sustained on March 3, 2017 in a motor vehicle accident caused by an uninsured

motorist. See, Amended Complaint at Exh. 4. Plaintiff Daniel Collins seeks compensation for loss

of his wife's consortium. Id. In Count III, plaintiffs seek a recovery under 42 Pa.C.S. § 8371 for

State Farm's alleged bad faith. Id.

       11.     The amount in controversy in this matter is in excess of Seventy-Five Thousand

Dollars ($75,000) exclusive of interest and costs, in that plaintiffs allege in their Amended

Complaint:

               (a)     That Jennifer Collins suffered serious injuries in the accident, including but
                       not limited to a traumatic brain injury, concussion, nausea, bruises and
                       contusions, tinnitus, hearing loss, loss of memory, cervical and lumbar
                       sprains and strains, disc protrusion and annular tear at L3-L4 impinging
           Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 7 of 11




                         upon the nerve root at L3, low back disc herniation with radiculopathy and
                         disc bulging and shock to her nerves, some or all of which may be
                         permanent in nature;

                  (c)    That the accident was the fault of an uninsured motorist, thus entitling
                         plaintiffs to recover under the uninsured motorist coverages of two State
                         Farm policies which together provide coverage of up to $325,000;

                  (d)    That plaintiffs' claims have a value in excess of $40,000, the amount offered
                         by State Farm to settle; and

                  (e)    That State Farm's handling of the claim was in bad faith, entitling plaintiffs
                         to make a recovery of punitive and other damages under Pennsylvania's bad
                         faith statute, 42 Pa.C.S. § 8371.

See, Exhibit 4.

        12.       This is a suit of a civil nature and involves a controversy between citizens of

different states.

        13.       State Farm files this Notice of Removal pursuant to 28 U.S.C. §1446(b).

        14.       The averments made herein are true and correct with respect to the date upon which

the Amended Complaint was filed and continuously through the date upon which this Notice is

being filed.

        15.       Defendant is simultaneously with the filing of this Notice giving written notice to

the plaintiffs through their attorneys.

        16.       Defendant is filing a copy of the instant Notice of Removal, and all attachments

thereto, with the Prothonotary of the Court of Common Pleas of Philadelphia County,

Pennsylvania.
          Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 8 of 11




       WHEREFORE, defendant State Farm Mutual Automobile Insurance Company hereby

removes this suit to this Honorable Court pursuant to the laws of the United States.


                                             Respectfully Submitted:

                                             BENNETT, BRICKLIN & SALTZBURG LLC

                                                     Katherine Cole Douglas /s/
                                             By:
                                                     KATHERINE COLE DOUGLAS
                                                     Attorney I.D. No. PA 58913
                                                     Centre Square, West Tower
                                                     1500 Market Street, 32nd Floor
                                                     Philadelphia, PA 19102
                                                     215-561-4300
                                                     douglas@bbs-law.com
                                                     Attorney for Defendant,
                                                     State Farm Mutual Automobile
                                                     Insurance Company
              Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 9 of 11




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JENNIFER COLLINS AND DANIEL
 COLLINS                                               NO.

      v.

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY


                                     NOTICE TO PLAINTIFFS

TO:        Jennifer Collins and Daniel Collins
           c/o Christy Adams, Esquire
           ADAMS RENZI LAW
           1429 Walnut Street, 14th Floor
           Philadelphia, PA 19102

           Please take notice that defendant, State Farm Mutual Automobile Insurance Company, by

its attorneys Bennett, Bricklin & Saltzburg LLC, has filed a Notice of Removal in the United States

District Court for the Eastern District of Pennsylvania regarding an action previously pending in

the Court of Common Pleas of Philadelphia County, Pennsylvania, November Term, 2020 No.

002001 (E-Filing No. 2011037791) captioned Jennifer Collins and Daniel Collins v. State Farm

Mutual Automobile Insurance Company.

                                                 BENNETT, BRICKLIN & SALTZBURG LLC

                                                        Katherine Cole Douglas /s/
                                                 By:
                                                        KATHERINE COLE DOUGLAS
                                                        Attorney I.D. No. PA 58913
                                                        Centre Square, West Tower
                                                        1500 Market Street, 32nd Floor
                                                        Philadelphia, PA 19102
                                                        215-561-4300
                                                        douglas@bbs-law.com
                                                        Attorney for Defendant
            Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 10 of 11




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JENNIFER COLLINS AND DANIEL
 COLLINS                                           NO.

     v.

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY


                                      PROOF OF FILING

          Katherine Cole Douglas, Esquire, being duly sworn according to law, deposes and says

that she is an attorney in the law firm of Bennett, Bricklin & Saltzburg LLC, attorneys for

defendant, State Farm Mutual Automobile Insurance Company, and that she did direct the filing

with the Prothonotary of the Court of Common Pleas of Philadelphia County, Pennsylvania a copy

of the Notice of Removal attached hereto, said filing being made electronically on January 27,

2021.


                                             BENNETT, BRICKLIN & SALTZBURG LLC

                                                    Katherine Cole Douglas /s/
                                             By:
                                                    KATHERINE COLE DOUGLAS
                                                    Attorney I.D. No. PA 58913
                                                    Attorney for Defendant,
                                                    State Farm Mutual Automobile
                                                    Insurance Company
            Case 2:21-cv-00354-TR Document 1 Filed 01/27/21 Page 11 of 11




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JENNIFER COLLINS AND DANIEL
 COLLINS
                                                      NO.
     v.

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY

                                      PROOF OF SERVICE

          Katherine Cole Douglas, Esquire, after being first duly sworn upon oath, deposes and says
that she is a member of the law firm of Bennett, Bricklin & Saltzburg LLC, attorneys for the
defendant, State Farm Mutual Automobile Insurance Company, and that she did caused to be
served this 27th day of January, 2021 the aforementioned Notice to Plaintiffs upon the individuals
named below via electronic service through the Court of Common Pleas of Philadelphia County.
          Jennifer Collins and Daniel Collins
          c/o Christy Adams, Esquire
          ADAMS RENZI LAW
          1429 Walnut Street, 14th Floor
          Philadelphia, PA 19102


                                                BENNETT, BRICKLIN & SALTZBURG LLC

                                                       Katherine Cole Douglas /s/
                                                By:
                                                       KATHERINE COLE DOUGLAS
                                                       Attorney I.D. No. PA 58913
                                                       Attorney for Defendant,
                                                       State Farm Mutual Automobile
                                                       Insurance Company
